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17                                UNITED STATES DISTRICT COURT
18                              NORTHERN DISTRICT OF CALIFORNIA
19                                         OAKLAND DIVISION
20    EPIC GAMES, INC.                                Case No. 4:20-cv-05640-YGR-TSH
21
            Plaintiff, Counter-defendant              APPLE INC.’S NOTICE OF FILING RE
22    v.                                              ECF NO. 1333

23    APPLE INC.,                                     The Honorable Thomas S. Hixson

24          Defendant, Counterclaimant
25

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     APPLE INC.’S NOTICE OF FILING RE ECF NO.                     CASE NO. 4:20-CV-05640-YGR-TSH
     1333
       Case 4:20-cv-05640-YGR        Document 1595        Filed 05/20/25      Page 2 of 2




 1          Pursuant to the Court’s Order of May 15, 2025 (Dkt. 1562), Apple hereby files the unredacted

 2   Exhibit F and the redacted Exhibits A–E and G to ECF No. 1333.
 3

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 5

 6
      Dated: May 20, 2025                           Respectfully submitted,
 7

 8                                                  By: __/s/ Mark A. Perry_____________

 9                                                  Mark A. Perry
                                                    Attorney for Apple Inc.
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     APPLE INC.’S NOTICE OF FILING RE ECF NO.        1                CASE NO. 4:20-CV-05640-YGR-TSH
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